Case 18-10614-jal        Doc 43-1   Filed 09/07/18     Entered 09/07/18 15:12:16      Page 1 of
                                               1




                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF KENTUCKY
                             BOWLING GREEN DIVISION


In re:                                          )            Case Number 18-10614 – jal
                                                )
BRIAN LEE SIMMONS and                           )
MISSY LEE MATHERS SIMMONS                       )
                                                )                  Chapter 11
                                                )
                                                )
               Debtors                          )


                                 ORDER ON
              UNITED STATES TRUSTEES OBJECTION TO EXMEPTIONS

         This matter came before the Court upon the United States Trustees Objection to

Exemptions. Due and appropriate notice having been given; it appearing to the Court that the

requested relief as sought by the Debtor should be denied.

               IT IS HEREBY ORDERED the Debtor’s Claimed Exemptions be denied and that

the Debtors are given leave to file amended exemptions herein.


PROPOSED ORDER SUBMITTED BY

TIMOTHY E. RUPPEL
UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
601 W. Broadway, Suite 512
Louisville, Kentucky 40202
(502) 582-6000 (230)




                                                1
